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                        EXHIBIT A
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12   (Additional counsel listed on signature page)
13                                 UNITED STATES DISTRICT COURT
14                                NORTHERN DISTRICT OF CALIFORNIA
15                                          SAN FRANCISCO
16
     PANGEA LEGAL SERVICES; DOLORES                      Case No. ------
                                                                  3:20-cv-07721
17   STREET COMMUNITY SERVICES, INC.;
     CATHOLIC LEGAL IMMIGRATION NET-
18   WORK, INC.; and CAPITAL AREA IMMI­
     GRANTS' RIGHTS COALITION,
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                    Plaintiffs,                          DECLARATION OF ETAN NEWMAN
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            v.
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     U.S. DEPARTMENT OF HOMELAND
22   SECURITY; CHAD F. WOLF, under the title of
     Acting Secretary of the Department of
23   Homeland Security;
     KENNETH T. CUCCINELLI, under the title of
24   Senior Official Performing the Duties of the
25   Deputy Secretary for the Department of
     Homeland Security;
26   U.S. CITIZENSHIP AND IMMIGRATION
     SERVICES;
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 1   U.S. IMMIGRATION AND CUSTOMS
 2   ENFORCEMENT;
     TONY H. PHAM, under the title of Senior
 3   Official Performing the Duties of the Director of
     US. Immigration and Customs Enforcement;
 4   U.S. CUSTOMS AND BORDER PROTECTION;
 5   MARK A. MORGAN, under the title of Senior
     Official Performing the Duties of the
 6   Commissioner of US. Customs and Border
     Protection;
 7   U.S. DEPARTMENT OF JUSTICE;
 8   WILLIAM P. BARR, under the title of US.
     Attorney General;
 9   EXECUTIVE OFFICE FOR IMMIGRATION
     REVIEW; and
10   JAMES MCHENRY, under the title of Director
     of the Executive Office for Immigration Review,
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                   Defendants.
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 1          I, Etan Newman, declare under penalty of perjury as prescribed in 28 U.S.C. § 1746:
 2          1.      The facts contained in this declaration are known personally to me and, if called as
 3   a witness, I could and would testify competently thereto under oath. I submit this sworn declara-
 4   tion in support of Plaintiffs' Motion for a Temporary Restraining Order, Preliminary Injunction,
 5   and Stay.
 6          2.      I serve as an Immigration Attorney and Co-Director at Pangea Legal Services
 7   ("Pangea"), where I conduct intake consultations and represent individuals facing removal pro-
 8   ceedings, in addition to coordinating Pangea's appellate and federal litigation efforts. I have
 9   worked at Pangea since 2016.
10          3.      Pangea is a 501(c)(3) non-profit corporation, with its main office in San Francisco,
11   CA, and an office in San Jose, CA.
12          4.      Pangea's mission is to stand with immigrant communities and to provide services
13   through direct legal representation, especially in the area of deportation defense. In addition to
14   direct legal services, Pangea is committed to advocating on behalf of the community it serves
15   through policy advocacy, education, ·and legal empowerment efforts. Pangea's efforts focus pri-
16   marily on Northern California's Bay Area; however, in some instances, Pangea has also collabo-
17   rated with other immigration services organizations across the nation.
18          5.      Pangea was founded to help address the critical need for the representation of de-
19   tained and non-detained individuals in the San Francisco immigration court system. That need
20   arises from a number of factors, including (but not limited to) the complexity of immigration law,
21   the grave negative consequences that may result from deportation, and the fact that many immi-
22   grants in removal proceedings are eligible for relief or protection under the law.
23          6.      Pangea provides a number of immigration legal services to its clients, including:
24   representing noncitizens completing affirmative asylum applications and other applications for
25   relief; conducting intake consultations and referrals for noncitizens who need attorneys; represent-
26   ing noncitizens in immigration court removal proceedings; providing on-call, same-day legal as-
27   sistance to noncitizens who are arrested by U.S. Immigration and Customs Enforcement ("ICE")
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 1   in the Bay Area; representing noncitizens in federal litigation, including in habeas corpus petitions
 2   and appeals; and, recently, representing individuals in post-conviction relief petitions in state crim-
 3   inal court.
 4           7.     Pangea provides direct legal services to over 400 clients annually. At present, al-
 5   most 250 of Pangea's clients have asylum applications pending in either immigration court or at
 6   United States Citizenship and Immigration Services ("USCIS"), and dozens of others are either
 7   eligible for asylum, but have yet to submit an application, or have been denied asylum and are on
 8   appeal. Pangea also provides in-depth assistance to prose asylum applicants, a newly launched
 9   program that has already served approximately 10 clients since its inception in 2020.
10           8.     In addition to providing direct legal services and pro se assistance, Pangea advo-
11   cates for and works to empower noncitizens by engaging in policy advocacy, education, and legal
12   empowerment efforts. Pangea's community education efforts include, among others, providing
13   Know-Your-Rights ("KYR") presentations to immigrant communities, which were attended by
14   hundreds of individuals annually prior to the COVID-19 pandemic.
15           9.     Pangea also provides training to other attorneys to equip them to provide further
16   services to noncitizen communities. Pangea works closely with at least one other similarly situated
17   non-profit organization, providing case supervision and assistance as needed. Pangea's attorneys
18   also frequently participate in trainings hosted by organizations such as the Public Law Institute,
19   which are open to other attorneys and to the public.
20           10.    Pangea also participates in local and statewide advocacy for immigrants' rights.
21   This includes partnering with coalitions to advocate for the enactment of legislation that protects
22   immigrant communities from detention and deportation. As part of these efforts, Pangea's Com-
23   munity Forum Project focuses on creating forums for clients to share experiences and common
24   fears without feeling targeted or exposed.
25           11.    The Rule challenged in the Complaint, Procedures for Asylum and Bars to Asylum
26   Eligibility, 85 Fed. Reg. 67202 (October 21, 2020) ("Rule"), would irreparably harm Pangea in
27   multiple ways, including by frustrating Pangea' s mission to serve as many immigrants lawfully
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 1   seeking asylum as possible.
 2          12.      As described in the paragraphs below, the Rule would also significantly limit the
 3   overall number of clients Pangea is able to serve, placing the organization in an impossible posi-
 4   tion: it would need to divert staff time and resources towards raising more funds to serve the same
 5   number of clients, or reduce the total number of clients it serves to fit within the organization's
 6   current budget.
 7          13.      Under the new Rule, the number of individuals potentially subject to criminal bars
 8   to asylum eligibility would increase dramatically. Consequently, Pangea's staff would have to
 9   expend more time and resources at the outset of each case to determine whether any of the asylum
10   bars could be triggered and to assess the potential impact of any prior convictions (including those
11   that have been modified, vacated, or expunged). Indeed, under the new Rule, asylum seekers can
12   be categorically barred from obtaining protection on the basis of mere allegations of certain con-
13   duct without any adjudication of guilt.
14          14.      Contrary to what including "categorical" bars may imply, the new Rule makes it
15   significantly less clear as to whether someone is eligible for asylum. Many of the new bars inher-
16   ently involve subjective adjudication, while simultaneously removing from the adjudicator any
17   discretion in determining whether the circumstances merit such a harsh penalty. For these reasons,
18   the Rule would significantly increase the amount of time and resources each asylum-seeker's case
19   requires, including time spent on briefing eligibility issues; time and resources spent on obtaining
20   any records of arrests and/or convictions; and resources spent on finding and preparing witnesses
21   and experts.
22          15.      For example, the Rule would impose a categorical bar on asylum against someone
23   on the basis of mere allegations of domestic-violence related conduct, regardless of whether there
24   had been any adjudication of guilt. Likewise, asylum seekers with two DUI convictions would be
25   barred, regardless of whether they have sought treatment for alcohol addiction, and asylum-seek-
26   ing mothers would be barred if they were convicted for bringing their own child across the border.
27   Indeed, the Rule fails to address or account for the fact that a significant number of people may
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 1   agree to plead to a crime as to avoid the threat of a severe sentence; not only is a conviction an
 2   unreliable predictor offuture danger, it can also be an unreliable indicator ofpast criminal conduct.
 3   In addition, it does not address and makes no exception for convictions for conduct influenced by
 4   mental illness or duress. Not only would Pangea's staff have to spend significant time determining
 5   the impact of these bars on their current clients, increased time and resources would have to be
 6   expended on behalfofeach new potential client Pangea contemplated taking on to ensure that none
 7   of these new bars applied.
 8          16.     Moreover, the new Rule would adversely impact Pangea's ability to represent fam-
 9   ilies. Pangea's current clients include many individuals seeking asylum as a family unit. At pre-
10   sent, ifan individual is granted asylum, their spouse and children already in the United States who
11   they included on their asylum application may also be granted asylum, and they can file a petition
12   to bring remaining eligible family members not in the United States to the United States. Unlike
13   asylum, withholding of removal does not provide any relief for an eligible individual's family
14   members, whether they are in the United States or in another country. If a parent is suddenly
15   subject to one ofthe Rule's expanded asylum bars, and thus forced to seek withholding ofremoval
16   only, they will no longer be able to ensure that their children will be able to obtain protection in
17   the United States, regardless ofwhether they are granted withholding ofremoval. Instead, if their
18   children are still in their home country, they will have to come to the United States and seek asylum
19   on their own, likely as unaccompanied children. If their children fled to the United States with
20   them, they will need to establish their own eligibility for protection, regardless oftheir age. Often,
21   Pangea is able to present a single case on behalf of such families, because the children's claims
22   are treated as derivative of their parents' claims. However, ifparents were rendered ineligible for
23   asylum under the new Rule, their children would no longer have a derivative claim and their cases
24   could not be combined. Pangea would thus have to expend its already-limited resources to handle
25   all such newly individualized cases for current clients and/or apply for additional grants and fund-
26   ing. This decoupling ofPangea's current cases would also impact its ability to take on new clients.
27          17.     The added complexities posed by the new Rule will require the Pangea staff to
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 1   revise all current training materials, including in connection with recent programming launched
 2   by Pangea to provide assistance to prose asylum applicants. The Rule would require Pangea to
 3   revise its training templates and spend more time educating prose applicants on the nuances of
 4   the Rule's eligibility requirements.
 5          18.     Pangea will also have to continue to divert substantial time and resources to training
 6   its staff and attorneys on these new asylum eligibility and processing framework requirements,
 7   particularly in light of the nuanced and complex nature of the new bars.
 8          19.     Additionally, the Rule would force Pangea to divert resources away from other in-
 9   itiatives to compensate for the time and staffing resources required to respond to it. For example,
10   Pangea is a member of formal rapid response networks in the California counties of Santa Clara,
11   San Mateo, and San Francisco. The aim of these rapid response networks is to provide attorney
12   response and consultations to newly-detained individuals from those counties. As part of these
13   networks, Pangea attorneys take shifts in which they are on-call to provide consultation and rep-
14   resentation to detained individuals, including on weekends. Pangea's ability to contribute to this
15   and other important initiatives could be hampered if it is forced to reallocate already-scarce re-
16   sources in light of the Rule.
17          20.     The Rule would also jeopardize Pangea's funding and budget. In 2020, sixty-five
18   percent of the organization's funding was tied to grants requiring some form of deliverables (e.g.,
19   a specific number of asylum applications filed or clients represented). If permitted to take effect,
20   the Rule would necessarily reduce the number of Pangea's clients eligible for asylum. Moreover,
21   the increased hours Pangea would be required to spend both assessing the impact of the Rule on
22   its current clients and representing those impacted by the Rule would reduce the overall number
23   of clients served. As a result, it is unclear whether Pangea could continue to comply with existing
24   funding conditions.
25          21.     Pangea generates approximately nine percent of its income through the low-cost
26   services it provides to asylum-seekers who are not eligible for government or foundational grants
27   due to prior convictions, certain geographic restrictions, or because of income or their ability to
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 1   pay. While such convictions may not have previously triggered a bar to asylum eligibility, under
 2   the new Rule, those same clients may no longer be eligible for asylum. For any current clients
 3   rendered ineligible for asylum by the new Rule, Pangea would forfeit future payments on collateral
 4   matters for which the clients would no longer be eligible, such as applications for employment
 5   authorization or obtaining a refugee travel document (both items Pangea charges for separately
 6   from court representation). This, too, would have a significant detrimental effect on Pangea's
 7   budget.
 8             22.   Pangea also generates income through services it provides to former clients who
 9   successfully obtain asylum and want to adjust their status (e.g., those who become eligible for
10   permanent residency). Pangea typically handles approximately fifteen or twenty such cases a year,
11   and may handle more, depending on how many derivative claims there are (for which Pangea
12   generally charges separately). If the rule decreases the number of adults and children eligible for
13   asylum, it will necessarily decrease Pangea's revenue stream tied to these post-asylum status
14   changes.
15             23.   The relief requested in the Plaintiffs' Complaint would properly address the injuries
16   to Pangea described above. If Plaintiffs prevail in this action, Pangea would be able to devote its
17   staff time and resources to more clients than it would be able to if the Rule were permitted to take
18   effect.
19             24.   Pangea is unaware of any way it can recover the increased costs that the Rule will
20   impose on Pangea as an organization, and would suffer immediate and irreparable injury under the
21   Rule if the rule were permitted to take effect.
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 1          I declare under penalty of perjury under the laws of the United States of America that the
 2   foregoing is true and correct.
 3          Dated: November 2, 2020
 4          San Francisco, CA
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                                                                Etan Newman
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